        Case 1:03-cv-00050-JRH Document 1610 Filed 07/12/22 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF GEORGIA
                                  AUGUSTA DIVISION

 WHITESELL CORPORATION,

        Plaintiff,

         v.                                                Case No. 1:03-cv-00050-JRH

 ELECTROLUX HOME PRODUCTS, INC.,
 HUSQVARNA AB and HUSQVARNA
 OUTDOOR PRODUCTS, INC.

        Defendants.


           PLAINTIFF, WHITESELL CORPORATION’S, MOTION TO SEAL

       Pursuant to Local Rule 79.7, Plaintiff, WHITESELL CORPORATION (“Whitesell”), by

and through the undersigned counsel, hereby moves the Court for an order placing under seal

Exhibit A and Composite Exhibit C to Plaintiff’s Response to the Husqvarna Defendants’

Continued Objection to Amended Report of Mr. Karutz dated June 3, 2022, and Related Schedule,

filed on July 12, 2022.

       The Exhibits have been designated by the parties as “Confidential” pursuant to the

Confidentiality Order entered in the above-captioned matter on June 28, 2005 [Dkt. 32]

(“Confidentiality Order”). Consistent with the terms of the Confidentiality Order and pursuant to

this Court’s Local Rules, Whitesell seeks to have Exhibit A and Composite Exhibit C placed

under seal until the entry of final judgment or until the parties jointly notify the Court that the

Exhibits can be unsealed. An unredacted copy of the Exhibits have been served upon counsel for

Defendants and shall be provided to the Court under separate cover.

       WHEREFORE, Whitesell Corporation requests that the Court grant Whitesell’s Motion to

Seal. A proposed order is attached hereto as Exhibit “A” for the Court’s convenience.


                                           Page 1 of 2
        Case 1:03-cv-00050-JRH Document 1610 Filed 07/12/22 Page 2 of 2




Dated: July 12, 2022.


                                                Respectfully submitted,

                                                COLEMAN, YOVANOVICH & KOESTER, P.A.


                                                By:       /s/ Matthew B. Devisse                     .
                                                          Edmond E. Koester (admitted pro hac vice)
                                                          Florida Bar No. 87882
                                                          Matthew B. Devisse (admitted pro hac vice)
         Primary email addresses:                         Florida Bar No. 119125
         ekoester@cyklawfirm.com                          4001 Tamiami Trail North, Suite 300
         mdevisse@cyklawfirm.com                          Naples, FL 34103
         Secondary email addresses:                       239.435.3535
         mfoster@cyklawfirm.com                           239.435.1218 Facsimile
         cykservice@cyklawfirm.com                        Counsel for Plaintiff, Whitesell Corporation


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 12th day of June, 2022 I electronically filed the

foregoing Motion to Seal with the Clerk of the Court using the CM-ECF system, which

automatically serves notification of such filing to all counsel of record.



                                                COLEMAN, YOVANOVICH & KOESTER, P.A.

                                                By:     /s/ Matthew B. Devisse                   .
                                                        Edmond E. Koester (admitted pro hac vice)
                                                        Florida Bar No. 87882
                                                        Matthew B. Devisse (admitted pro hac vice)
 Primary email addresses:                               Florida Bar No. 119125
 ekoester@cyklawfirm.com                                4001 Tamiami Trail North, Suite 300
 mdevisse@cyklawfirm.com                                Naples, FL 34103
 Secondary email addresses:                             239.435.3535
 mfoster@cyklawfirm.com                                 239.435.1218 Facsimile
 cykservice@cyklawfirm.com                              Counsel for Plaintiff, Whitesell Corporation




                                            Page 2 of 2
